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                              IN UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:14-cv-03116-WYD-CBS

  Larry Braden,

          Plaintiff/Movant,

  Medicredit, Inc.,

          Defendant.


                                 STIPULATION OF DISMISSAL



         IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

  respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

  is hereby dismissed against Medicredit, Inc. with prejudice and without costs to any party.

   Larry Braden                                 Medicredit, Inc.

   ___/s/ Jenny DeFrancisco_______              _/s/ Scott J. Dickenson ______

   Jenny DeFrancisco, Esq.                      Scott J. Dickenson
   Lemberg Law, LLC                             LATHROP & GAGE LLP
   1100 Summer Street, Third Floor              7701 Forsyth Blvd., Suite 500
   Stamford, CT 06905                           St. Louis, MO 63105
   Telephone: (203) 653-2250                    Telephone: (314) 613-2800
   jdefrancisco@lemberglaw.com                  Facsimile: (314) 613-2801
   Attorneys for Plaintiff                      Attorney for Defendant



  _____________________________
  SO ORDERED
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 13, 2015, a true and correct copy of the foregoing Stipulation
  of Dismissal was served electronically by the U.S. District Court for the District of Colorado
  Electronic Document Filing System (ECF), which gave notice of such filing to the following:

  Scott J. Dickenson
  LATHROP & GAGE LLP
  7701 Forsyth Blvd., Suite 500
  St. Louis, MO 63105

                                               By_/s/ Jenny DeFrancisco_________
                                                   Jenny DeFrancisco, Esq.




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